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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

MICHAEL A. LEONARD CIVIL NO::
Plaintiff,
Vv.
GENERAL MOTOR COMPANY, Removed from the Connecticut Superior
Court for the Judicial District of New
Defendant. Haven at New Haven

NOTICE OF REMOVAL

TO: Honorable Chief Judge and Judges of the United States District Court

General Motors Company (“GM Company’), Defendant in the above-captioned action,
hereby files this Notice of Removal of this action from the Superior Court of the Judicial District
of New Haven at New Haven to the United States District Court for the District of Connecticut,
pursuant to 28 U.S.C. §1441, and in support thereof aver as follows:

I The above-captioned action was commenced against GM Company on August 21,
2019, with a Return Date of December 17, 2019, in the Superior Court of the Judicial District of
New Haven at New Haven. Plaintiff's Complaint and Summons, attached as Exhibit “A”.

2s The Summons and Complaint were received by GM Company on September 25,
2019, via service on the Secretary of the State of Connecticut “as the Statutory Agent for Service
of Process.”

3: This Notice of Removal is filed within 30 days after service of the Summons and
Complaint on GM Company, pursuant to 28 U.S.C. § 1446(b).

4, No further proceedings have been had in the Superior Court of the Judicial

District of New Haven at New Haven in connection with the above-captioned action.
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Ai The above-captioned action is a civil action alleging the Defendant’s alleged
negligence and carelessness violated The Connecticut General Statutes as well as Federal Safety
Requirements.

6. The Complaint alleges Plaintiff, Michael Leonard, was operating a 2007
Chevrolet Cobalt LT model vehicle when Plaintiff ‘collided with the Jersey Barrier at 40-45
mph. Causing (sic) the left front driver side to be damaged substantially enough to render the
vehicle ‘totaled.’” Ex. “A”, 7 4.

7: Plaintiff claims that “this collision revealed manufacturing flaws.” The Complaint
alleges that the “airbags never deployed upon impact and that the safety restraint (seat belt)
failed to prevent Plaintiff from impacting the steering wheel.” Ex. “A”, ¥ 5.

Diversity of the Parties

8. As averred in Plaintiffs Complaint, the Plaintiff is a citizen of the State of
Connecticut. See Exhibit “A.”

9. Defendant, GM Company, is neither incorporated in nor maintains its principal
place of business in the State of Connecticut.

10. GM Company is a Corporation organized and existing under the laws of the State

of Delaware with its principal place of business in the State of Michigan. See Affidavit of Rick

Hansen, a copy of which is attached hereto as Exhibit “B.”

Amount in Controversy

i, Plaintiff allegedly sustained substantial injuries including migraines, permanent
painful bite and discomforting sensitivity to cold and heat, emotional trauma exacerbating

previously diagnosed PTSD, generalized anxiety disorder and depression. Ex. “A”, 6.
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12; Plaintiff is seeking “damages in the sum of $1,250,000.00 as well as two
replacement vehicles, one each of my choosing a truck and a car.” Ex. “A”, J 7.

13. Plaintiffs claim therefore exceeds the amount in controversy of seventy-five
thousand dollars ($75,000.00), exclusive of interests and costs, and thus satisfies the threshold
for federal diversity jurisdiction. 28 U.S.C. § 1332(a) and § 1441(a).

Removal is Proper

14. This Court has original jurisdiction over this action under the provisions of 28
U.S.C. § 1322, in that the matter in controversy exceeds the sum or value of $75,000.00,
exclusive of interest and costs, and is between citizens of different states for diversity purposes.
The above-captioned action may, therefore, be removed pursuant to 28 U.S.C. § 1441(a).

15. At the time of the filing of the Plaintiffs’ Complaint and at the time of this
removal, there is complete diversity of citizenship between Plaintiffs and all Defendants pursuant
to 28 U.S.C. § 1332(a)(1).

16. Written notice of the filing of this Notice will be served on the adverse party as
required by 28 U.S.C. §1446(d).

17, Pursuant to 28 U.S.C. §§ 1442(a) (1) and 1446, GM Company, has on this date
filed a notice in the Superior Court of the State of Connecticut, Judicial District of New Haven at
New Haven, notifying the Court of the filing of this Notice of Removal.

18. Pursuant to 28 U.S.C. §1446(a), all process, pleadings and orders are attached

hereto as exhibits.
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WHEREFORE, Defendant, General Motors Company, prays for removal of the above-
captioned action from the Superior Court of the Judicial District of New Haven at New Haven to

the United States District Court of Connecticut.

Date: 10/25/19 GENERAL MOTORS COMPANY
By its Attorney,

/s/Timothy J. Duggan
Timothy J. Duggan (ct 17830)
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Juris No.: 415008

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CERTIFICATE OF SERVICE

I hereby certify that a true and accurate copy of the foregoing document was served via
first class mail, postage prepaid on Michael A. Leonard, 900 Highland Avenue, Cheshire, CT
06410 on October 25, 2019.

/s/Timothy J. Duggan
Timothy J. Duggan

